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                                   STATEMENT OF FACTS

        Your affiant,                          , is a special agent with the Federal Bureau of
Investigation and has been since August 2021. I also have over ten years of federal law
enforcement service as a special agent with the Bureau of Indian Affairs working violent crime.
As part of my duties, I investigate violent extremist activity and groups, domestic terrorism, and
other federal criminal activities. I am also a member of the Northern Nevada Joint Terrorism Task
Force (JTTF). The statements contained in this affidavit are based upon my experience and
background as a special agent.

        The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies or is based on a
review of various documents, records, and reports. Because this Affidavit is submitted for the
limited purpose of establishing probable cause, it does not contain every fact known by me or the
FBI. The dates and times listed in this Affidavit should be read as “on or about.”

                 Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempted to keep the crowd away from
the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.
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       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                Facts Specific to Nolan Freeman

        On December 2, 2022 information was disseminated to Federal Bureau of Investigation
Reno Office that a possible subject, Nolan Freeman (Freeman), depicted below, was unlawfully at
the U.S. Capitol on January 06, 2021, as reported by a credible source. Freeman is an actor known
for his roles in NCIS (2019), The Rookie (2018) and Devil’s Night (2017).




       Open source checks indicated an address of 347 Territory Road, Dayton, NV and a
telephone number of XXX-XXX-1750. Data sets were made available after the January 6, 2021
Capitol riots. FBI queried the data sets for XXX-XXX -1750, and identified a hit in the AT&T
records. The phone XXX-XXX -1750 was time stamped at 2021-01- 06 T14:07:09 -05.

        On December 22, 2022, FBI identified the phone owning number XXX-XXX -1750 was
inside the Washington, D.C. Capitol building on January 6, 2021. On January 4, 2023, FBI
conducted additional queries for the phone number that revealed there were approximately three
data hits while the phone was inside the Capitol at 2:07 p.m, 2:14 p.m., and 2:33 p.m. EST.
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        On January 9, 2023, Nevada Office of the Attorney General Investigator
                                  with employment verification for Freeman. Hight indicated the
last records for Freeman date back to the second quarter of 2021, when he worked for Polar Bear
Heating in Carson City, NV. According to Hight, there was no further employment information
for Freeman.

        On January 6, 2023                        made contact with Nevada Waste Management
District Manager Rich Spediacci who assisted in setting up a trash pull from residence 347
Territory Road, Dayton , NV on January 13, 2023. The trash pull yielded multiple pieces of mail
addressed to Freeman at 347 Territory Road. Some mail was addressed to Freeman and Hayley
Litov (Litov). Prior to the trash pull, it was believed Freeman resided at the residence; however,
afterwards it was confirmed Freeman had received recent mail at the referenced address.

      On January 26, 2023                     compiled and submitted a preservation letter
to AT&T Wireless for cell phone number XXX-XXX -1750.

        On January 31, 2023, FBI served a preservation request to Google LLC. The request was
to preserve YouTube video uploaded by username "The Patri0t" with the title, "an EXTREMELY
up close view of the Capitol Riot."
         As part of this investigation,             was able to locate videos of the subject inside
the Capitol that appeared to be Freeman.                  was able to identify the individual of
interest on multiple cameras throughout the U.S. Capitol.
       On January 31, 2023, FBI downloaded an open source YouTube. The Video was screen
recorded on January 31, 2023, and burned to a hard copy disk on February 2, 2023. Video was
posted by user "The Patri0t" and was titled, "an EXTREMELY up close view of the Capitol Riot."
       Video surveillance footage obtained from the Capitol Police shows Nolan Freeman,
wearing a red hoodie covered with a black jacket and red hat with white lettering, entering the U.S.
Capitol Building through a window at approximately 2:23 p.m. and leaving at approximately 2:49
p.m.
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           (Nolan Freeman entering Capitol through the window)




       (Nolan Freeman after entering Capitol through the window at approximately
                        19:23:34 UTC. 2:23 P.M. Local Time)
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                    (Nolan Freeman exiting the U.S. Capitol at approximately 19:49 UTC, 2:49 P.M.
                                                 Local Time)
            On March 13, 2023,                reviewed U.S. Capitol CCTV footaged and noted
    the following cameras where Freeman was spotted within the U.S. Capitol:

•    Upper House Door.

•    Memorial Door.

•    Crypt East.

•    East Stairs.

•    Main Door Hall.
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               (Nolan Freeman inside the U.S. Captiol)
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                             (Freeman outside the Capitol)


       Freeman was in the U.S. Capitol for approximately twenty six minutes.

       The foregoing does not represent an exhaustive analysis of all available surveillance
footage, but rather a summary of Nolan Freeman in and around the U.S. Capitol building. Open
source searches produced multiple photos and videos of Nolan Freeman both near and inside the
U.S. Capitol building on January 6, 2021, as seen in the still shots above.
        On June 27, 2023 FBI                    and                     interviewed Freeman at
his residence located at 347 Territory Road, Dayton, NV. Freeman agreed to speak with the agents
and confirmed his cell phone number (XXX-XXX -1750). Freeman then requested to speak to an
attorney when asked if he was at the U.S. Captiol during January 6, 2021. Agents concluded the
interview. Agents positively identified Freeman as the individual depicted in the photographs
above.
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        A Grand Jury subpoena for American Airlines showed travel for Freeman from January 4,
2021, through January 8, 2021, from Sacramento, CA to Washington, D.C., then return travel from
Washington, D.C. to Sacramento, CA. Freeman’s relative, Patricia Freeman resides at 1105 River
Rock Dr., Folsom, CA which is approximately 30 minutes from the Sacramento Airport.

                                            Conclusion

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Nolan Freeman violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempt or conspire to do so. For
purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.

        Your affiant submits there is also probable cause to believe that Nolan Freeman violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 5th day of March, 2024.
                                                                       2024.03.05
                                                                       11:01:19 -05'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
